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                UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                          _____________

                No. 16-3470, 16-3552, 16-3867 & 16-3868
                            _____________

    IN RE: PETITION OF FRESCATI SHIPPING COMPANY, LTD.,
     AS OWNER OF THE M/T ATHOS I and TSAKOS SHIPPING
        & TRADING, S.A., AS MANAGER OF THE ATHOS I
    FOR EXONERATION FROM OR LIMITATION OF LIABILITY
                      (E.D. Pa. No. 2-05-cv-00305)

                   UNITED STATES OF AMERICA

                                   v.

                CITGO ASPHALT REFINING COMPANY;
                 CITGO PETROLEUM CORPORATION;
                 CITGO EAST COAST CORPORATION
                     (E.D. Pa. No. 2-08-cv-02898)


                   CITGO Asphalt Refining Company;
                     CITGO Petroleum Corporation;
                   CITGO East Coast Oil Corporation,
                         Appellants in Nos. 16-3470; 16-3552

                    Frescati Shipping Company, Ltd.;
                   Tsakos Shipping and Trading, S.A.,
                           Appellants in No. 16-3867

                        United States of America
                          Appellant in No. 16-3868
                            _____________

             On Appeal from the United States District Court
                  for the Eastern District of Pennsylvania
            District Court Nos. 2-05-cv-00305; 2-08-cv-02898
             District Judge: The Honorable Joel H. Slomsky
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                            Argued November 8, 2017

                    Before: SMITH, Chief Judge, HARDIMAN,
                    Circuit Judge, and BRANN, District Judge*

                               ________________

                                  JUDGMENT
                               ________________

       This cause came on to be considered on the record from the United States

District Court for the Eastern District of Pennsylvania and was argued on November

8, 2017.


       On consideration whereof, it is now hereby ORDERED and ADJUDGED by

this Court that the judgment of the District Court dated August 17, 2016 is

AFFIRMED IN PART, VACATED IN PART, and REVERSED IN PART. The

District Court’s judgment in favor of Frescati on the breach of contract claim and

the prejudgment interest award is AFFIRMED. The District Court’s judgment in

favor of Frescati on the negligence claim is VACATED. The District Court’s

judgment in favor of the United States is AFFIRMED IN PART with respect to

CARCO’s liability on the subrogated breach of contract claim, but the judgment is

REVERSED and REMANDED for further proceedings in light of our equitable




*
The Honorable Matthew W. Brann, United States District Judge for the Middle
District of Pennsylvania, sitting by designation.

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recoupment ruling for the purpose of recalculating damages and prejudgment

interest. The District Court’s order dated April 9, 2015, denying CARCO’s motion

for partial summary judgment on its limitation of liability defense, is AFFIRMED.

The parties shall bear their own costs.




                                                      Attest:


                                                      s/ Patricia S. Dodszuweit
                                                      Clerk
DATED: March 29, 2018




  Certified as a true copy and issued in lieu
  of a formal mandate on June 7, 2018


 Teste:
 Clerk, U.S. Court of Appeals for the Third Circuit




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